                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

WHALEN KING,                                          )
                                                      )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    ) Case No. 16-CV-399-TCK-tlw
                                                      )
SOUTHWEST AVIATION                                    )
SPECIALTIES, LLC,                                     )
                                                      )
                       Defendant.                     )

                                     OPINION AND ORDER

       Before the Court is the Motion for Summary Judgment (Doc. 21) of Defendant Southwest

Aviation Specialties, LLC (“Defendant” or “Southwest”).

I.     Factual Background

       Southwest is a Tulsa-based limited liability company that provides aviation services at the

Richard Lloyd Jones, Jr. Airport in Jenks, Oklahoma. In July 2014, Plaintiff Whalen King

(“Plaintiff” or “King”) was hired as an avionics technician and installer for Southwest. Plaintiff was

well-liked, and Southwest considered him to be a knowledgeable and valued employee.

       In March 2015, as Plaintiff and others were gathering in a Southwest airplane hangar for a

weekly meeting, some employees began discussing a widely publicized video recording of an

incident involving the Sigma Alpha Epsilon (“SAE”) fraternity at the University of Oklahoma

(“SAE Incident”). The SAE Incident involved several individuals reciting a racist chant that

included the word “nigger” and referred to lynching. Plaintiff was the only African-American

present during this discussion of the SAE Incident. Plaintiff testified that during the discussion,

another employee repeatedly asked Plaintiff if Southwest should paint the University of Oklahoma’s

helicopter. Bill Copple (“Copple”), Plaintiff’s supervisor and a manager at Southwest, then made
a comment regarding the SAE Incident. The content and circumstances surrounding Copple’s

remark are disputed. Plaintiff testified that Copple turned to him and said, “pardon me, but a lot of

my friends are niggers and some of them are not niggers.” (King Dep. 64:6-8.) Plaintiff testified

that Copple delivered his remark in a “hateful” and “derogatory” way. (Id. 64:16-19; 68:15-16.)

Plaintiff felt Copple was “trying to get a rise out of me.” (King Aff. ¶ 6.) Southwest disputes that

Copple made this remark. According to Copple, he said instead, “I was raised on the north side of

Tulsa and some of my best friends were black and I can tell you from experience that the word

nigger has nothing to do with a person’s skin color.” (Copple Dep. 49:11-16.) Copple testified that

he made the remark to a group and not specifically to Plaintiff. (Id. 50:13-16.)

       Plaintiff claims that he complained about Copple’s remark to multiple employees at

Southwest. Sometime after Copple’s remark about the SAE Incident, on a Wednesday or Thursday,

Plaintiff went to the office of Branwen Erven (“Erven”), the Office Manager for Southwest.

Plaintiff told Erven about Copple’s remarks and expressed that he was offended and disappointed

in Copple’s comments and actions.1 According to Erven, Plaintiff initially told her that he was

thinking about quitting but, by the end of their conversation, he resigned and gave his two weeks’

notice. Erven testified that she was “shocked [King] was going to quit over one statement.” (Erven

Dep. 16:10-12.) Plaintiff admits he told Erven he was thinking about quitting but denies giving his

two weeks’ notice of resignation.

       According to Plaintiff, when he complained to Erven, two other Southwest employees were

also present, including Roy Ledesma (“Ledesma”), Parts Manager for Southwest. Southwest denies


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         While it is clear from the record that the pivotal events in this case took place in March
2015, the record generally does not include specific dates. Where relevant, the Court notes
information that is available from the record about the timing of events.

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that Erven is in management and argues that Plaintiff’s conversation with Erven about Copple’s

remark did not constitute a complaint to Southwest management. Plaintiff admits he did not

complain to Copple about Copple’s remark about the SAE Incident. Copple testified that no one

mentioned the discussion of the SAE Incident to him.

       On the day Plaintiff spoke to Erven, David Guzman (“Guzman”), the owner of Southwest,

was out of town. After Plaintiff’s conversation with Erven, Erven contacted Guzman by email or

text and advised him that Plaintiff had given his two weeks’ notice. Guzman testified that the next

day, he returned to the office. Guzman contacted Copple and instructed him to confirm whether

Plaintiff had given his notice and was quitting, and if so, to escort Plaintiff off the premises.

Guzman testified that for aviation-related safety reasons, Southwest has a policy that once an

employee who performs any type of work on aircraft resigns or expresses his or her intent to resign,

he or she is not allowed to perform any additional work on any aircraft and must leave the premises

as soon as practical. (First Guzman Aff. ¶ 6 (Mot. for Summ. J., Ex. 1).)

       Plaintiff continued to report to work after his conversation with Erven until Friday of that

week, March 20, 2015. According to Plaintiff, on that day, Copple called Plaintiff into his office;

told Plaintiff that he was “disrupting the company with complaining”; stated that Plaintiff had

resigned and given his two weeks’ notice; and instructed Plaintiff to turn in his tool box and leave

immediately. (King Dep. 81:1-8.) Plaintiff admits that he did not try to correct Copple or dispute

that he had given his notice. Plaintiff “let [Copple] assume that [he] was going to quit” because it

was clear that Copple was firing him. (Id. 81:9-25; King Aff. ¶ 6.) Plaintiff testified that Copple

was not listening to him, and Plaintiff did not see any point in arguing with him. (King Aff. ¶ 6.)




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       On May 25, 2016, Plaintiff filed a complaint in Tulsa County District Court against

Southwest, alleging violations of the Oklahoma Anti-Discrimination Act (“OADA”), O.S. 25 §§

1101 et seq., and Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e et seq.

The complaint alleges Southwest discriminated against Plaintiff by harassing him on the basis of

race and retaliated against Plaintiff by terminating his employment based on his opposition to

unlawful discrimination. On June 27, 2016, Southwest removed the action to this Court. On

January 13, 2017, Southwest filed its Motion for Summary Judgment (Doc. 21).

II.    Summary Judgment Standard

       Summary judgment is proper only if “there is no genuine issue as to any material fact, and

the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). The moving

party bears the burden of showing that no genuine issue of material fact exists. See Zamora v. Elite

Logistics, Inc., 449 F.3d 1106, 1112 (10th Cir. 2006). The Court resolves all factual disputes and

draws all reasonable inferences in favor of the non-moving party. Id. However, the party seeking

to overcome a motion for summary judgment may not “rest on mere allegations” in its complaint

but must “set forth specific facts showing that there is a genuine issue for trial.” Fed. R. Civ. P.

56(e). The party seeking to overcome a motion for summary judgment must also make a showing

sufficient to establish the existence of those elements essential to that party’s case. See Celotex

Corp. v. Catrett, 477 U.S. 317, 323-33 (1986).

III.   Objections to Material

       As a preliminary matter, the Court will address objections to certain material submitted with

and/or discussed in the briefing on the motion for summary judgment. The following determinations




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are for the purpose of summary judgment only and do not constitute a ruling on any pending or

future motions regarding the admissibility of any material at a later stage of the proceeding.

       Southwest objects to two exhibits (Doc. 24-1 and Doc. 24-2) submitted with Plaintiff’s

response to Southwest’s motion for summary judgment. The Court has not considered the two

exhibits Southwest objects to for the purpose of its summary judgment analysis, and there is no need

to address the objections at this time.

       Plaintiff objects to three new affidavits attached to Southwest’s reply to the motion: the

second affidavit of Guzman (Doc. 26-2), the affidavit of Ledesma (Doc. 26-4), and the affidavit of

Kim Chapman (“Chapman”) (Doc. 26-5). Plaintiff argues the affidavits were improperly included

with the reply because they do not address issues newly raised in Plaintiff’s response. For the

purpose of Southwest’s motion for summary judgment, the Court will consider the second affidavit

of Guzman and the affidavits of Ledesma and Chapman because they address arguments made in

Plaintiff’s response to the motion for summary judgment. See LCvR 7.2(h) (permitting reply briefs

“regarding new matter in the response brief”).

IV.    Summary Judgment Analysis

       Southwest moves for summary judgment on all claims asserted against it. Consistent with

the parties’ briefing, the Court applies the same factual and legal analysis to Plaintiff’s state and

federal law claims.

       A.      Racially Hostile Work Environment

       The Court construes Plaintiff’s claim for racial harassment as asserting a claim for a racially

hostile work environment. The elements of a racially hostile work environment claim are: (1) the

plaintiff is a member of a protected group; (2) the plaintiff was subject to unwelcome harassment;


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(3) the harassment was based on race; and (4) due to the harassment’s severity or pervasiveness, the

harassment altered a term, condition, or privilege of the plaintiff’s employment and created an

abusive working environment. See Harsco Corp. v. Renner, 475 F.3d 1179, 1186 (10th Cir. 2007).2

In addition to these four elements, a plaintiff must also establish a basis for employer liability. See

Debord v. Mercy Health Sys. of Kan., Inc., 737 F.3d 642, 650 (10th Cir. 2013). The standard for

imposing employer liability varies based on numerous factors, such as whether the harassment was

created by a co-worker or supervisor. See id. at 650-53 (explaining that employer can be found

vicariously liable, even absent any showing of negligence, if hostile work environment was created

by a supervisor).3

        To survive summary judgment on a claim alleging a racially hostile work environment, a

plaintiff must prove that “a rational jury could find that the workplace is permeated with

discriminatory intimidation, ridicule, and insult, that is sufficiently severe or pervasive to alter the


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           In Lounds v. Lincare, Inc., 812 F.3d 1208, 1221-22 (10th Cir. 2015), the Tenth Circuit
implied that the burden-shifting framework set forth in McDonnell Douglas Corporation v. Green,
411 U.S. 792 (1973), applies to hostile work environment claims. However, in Harsco Corporation
v. Renner, 475 F.3d 1179 (10th Cir. 2007) (the case cited in Lounds for the four-part “prima facie”
elements), the Tenth Circuit described the four-part test as “elements” and did not discuss a burden-
shifting framework. Harsco, 475 F.3d at 1186.

         Assuming that burden-shifting is helpful in some hostile work environment cases, the Court
finds it unhelpful here. Defendant has not attempted to proffer a “legitimate reason” for creating a
hostile work environment; it simply disputes that one was created. Accordingly, a pretext analysis
is inapplicable. See generally Pollard v. E.I. DuPont de Nemours Co., 213 F.3d 933, 943 (6th Cir.
2000), rev’d sub nom Pollard v. E.I. du Pont de Nemours & Co., 532 U.S. 843 (2001) (explaining
that “[w]hen a plaintiff proves that a hostile work environment existed, there is no legitimate
justification for such an environment, and thus recourse to the McDonnell Douglas test is not
warranted” because “[a] defendant’s only option is to deny the charges or argue that defendant
effectively remedied the situation”).
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            Southwest has not moved for summary judgment based on an absence of employer
liability, and the Court does not address this issue.

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conditions of the victim’s employment and create an abusive working environment, and that the

victim was targeted for harassment because of . . . [his race].” Hernandez v. Valley View Hosp.

Ass’n, 684 F.3d 950, 957 (10th Cir. 2012) (internal quotation marks omitted) (citing Morris v. City

of Colo. Springs, 666 F.3d 654, 663–64 (10th Cir. 2012)). The conduct in question must be judged

by both an objective and a subjective standard; this “dual standard asks both whether the plaintiff

was offended by the work environment and whether a reasonable person would likewise be

offended.” Id.

       To determine whether a workplace environment rises to the level of hostile, courts look at

the totality of the circumstances and consider factors such as: (1) the frequency of the discriminatory

conduct; (2) its severity; (3) whether it is “physically threatening or humiliating, or a mere offensive

utterance”; and (4) whether it unreasonably interferes with an employee’s work performance.” Nat’l

R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 116 (2002). “The run-of-the-mill boorish, juvenile,

or annoying behavior that is not uncommon in American workplaces is not the stuff of a Title VII

hostile work environment claim.” Morris, 666 F.3d at 664.

       In this case, Southwest did not cite the above standards relevant to hostile work environment

discrimination. Instead, Southwest cited standards applicable in ordinary disparate treatment cases

and argued that Plaintiff failed to establish that he suffered an “adverse employment action.” (See

Mot. for Summ. J. 8.) The Court construes this argument as challenging the second and fourth

elements of a hostile work environment claim – namely, that unwelcome harassment occurred or that

any unwelcome harassment was so severe or pervasive that it altered a term, condition, or privilege

of the plaintiff’s employment and created an abusive working environment. However, in deciding

whether to grant Southwest’s motion, the Court is mindful that Southwest articulated an imprecise


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standard, that Southwest failed to provide the Court with arguments or authority specific to hostile

work environment claims, and that Plaintiff lacked opportunity to respond with evidence in support

of these more specific elements.

         Southwest argues that Plaintiff did not suffer an adverse employment action, i.e., unwelcome

harassment, because Copple’s comment constituted a single incident that took place before a group

of employees and had nothing to do with King. Southwest further argues that the statement was

benign, as Copple was simply expressing disdain for the content of the video depicting the SAE

Incident, and that an isolated comment such as Copple’s cannot support a hostile work environment

claim.

         Plaintiff has produced sufficient evidence to survive summary judgment on his racially

hostile work environment claim. Under Plaintiff’s version of events, Copple told Plaintiff that some

of his friends “are niggers and some of them are not niggers.” The parties dispute whether the

remarks were directed at Plaintiff and whether a reasonable person in Plaintiff’s position would have

perceived the comment as racially offensive. However, Plaintiff subjectively deemed the comment

as racially hostile, and the Court finds that a reasonable person could also deem the comment (as

alleged by Plaintiff) to be offensive. Plaintiff testified that two individuals who were present during

Copple’s comments later “more or less” apologized to Plaintiff for Copple’s comments, indicating

that others in the group were not surprised Plaintiff deemed the comments offensive. (King Dep.

71:2-19.)

         Southwest’s briefing ignores that pervasiveness and severity are independent and equal

grounds upon which a plaintiff may establish this element of a hostile environment claim. See

Tademy v. Union Pac. Corp., 614 F.3d 1132, 1144 (10th Cir. 2008). Even an isolated comment, if


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sufficiently severe, can suffice to survive summary judgment. Plaintiff has created a question of fact

as to severity for two reasons. First, the comment, as described by Plaintiff, involved use of the

word “nigger,” which courts have deemed “polluting” and “pure anathema.” See Lounds, 812 F.3d

1208, 1229 (noting the “potentially strong polluting power of [] the time-worn word, ‘nigger’”);

Rogers v. Western-Southern Life Ins. Co., 12 F.3d 668, 675 (7th Cir. 1993) (observing that “perhaps

no single act can more quickly alter the conditions of employment” than “the use of an

unambiguously racial epithet such as ‘nigger’ by a supervisor”). Second, the comment was made

by Plaintiff’s direct supervisor, an individual with control over the terms and conditions of

Plaintiff’s employment. A reasonable jury could conclude that Copple’s reference to some people

being “niggers,” even one time, created a racially hostile work environment in which Plaintiff had

to work. Further, because Southwest failed to expressly cite the “severe or pervasive” standard or

couch its statement of material facts in terms of this standard, the Court is wary of making a factual

determination that should be reserved for a jury. See Lounds, 812 F.3d at 1224 (explaining that

severity or pervasive element is particularly unsuited for summary judgment); McCowan v. All Star

Maintenance, 273 F.3d 917, 923 (10th Cir. 2001) (stating that the severity and pervasiveness

question is “quintessentially a question of fact”).

       B.      Retaliation

       Under Title VII, an employer may not discriminate against any employee “because [he] has

‘opposed’ any practice made unlawful by Title VII, or because [he] has ‘participated . . . in an

investigation, proceeding, or hearing’ regarding a claim of discrimination.” Tabor v. Hilti, Inc., 703

F.3d 1206, 1219 (10th Cir. 2013) (citing Stover v. Martinez, 382 F.3d 1064, 1070 (10th Cir. 2004)).

The McDonnell Douglas burden-shifting framework applies to retaliation claims. Id. Under this


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framework, the aggrieved employee must first establish a prima facie case of prohibited employment

action. Plotke v. White, 405 F.3d 1092, 1099 (10th Cir. 2005). This burden is one of production

(not persuasion), it can involve no credibility assessment, and it is not onerous. Id. “If the employee

makes a prima facie showing, the burden shifts to the defendant employer to state a legitimate,

nondiscriminatory reason for its adverse employment action.” Id. “If the employer meets this

burden, then summary judgment is warranted unless the employee can show there is a genuine issue

of material fact as to whether the proffered reasons are pretextual.” Id.

               1.      Prima Facie Case

       In order to establish a prima facie case of retaliation, a plaintiff must show: (1) that he

engaged in protected opposition to discrimination; (2) that a reasonable employee would have found

the challenged action materially adverse; and (3) that a causal connection existed between the

protected activity and the adverse action. Tabor, 703 F.3d at 1219.

                       a.      Protected Opposition/Causal Connection

       Without citation to a specific element of the prima facie case or relevant case law, Southwest

argues: “Southwest suggests that if King cannot demonstrate that he opposed the alleged

discrimination to Southwest management or ownership, he cannot assert a claim that he was

terminated as a result thereof.” (Mot. for Summ. J. 11.) This argument appears to go to the issue

of notice and causation, meaning if Plaintiff merely complained to Erven, a receptionist/office

manager who did not make the termination decision, Southwest lacked notice of the complaint and

cannot establish that it caused his termination.4


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          Summary judgment is not granted based on a party’s “suggestions.” It is based on case law
and citations to the factual record. The Court has endeavored to discern Southwest’s “suggestions”
but has no obligation to conduct research on its behalf.

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       Southwest is not entitled to summary judgment based on Plaintiff’s inability to demonstrate

these elements. First, the Court finds questions of fact as to Erven’s exact title and role in the

company, which could impact whether Plaintiff engaged in protected opposition to discrimination.5

Second, and more importantly, the Court finds questions of fact as to whether Erven reported the

racial complaint to management. Plaintiff has produced evidence that Copple, the individual who

allegedly terminated Plaintiff, knew that Plaintiff had complained about Copple’s remark. (Erven

Dep. 18:15-19:14 (“I think Bill and I discussed [what King said], and I told him he was upset with

the conversation that he had had with another person and he took offense to it.”); King Dep. 81:3-5

(stating “[Copple] said that . . . I was disrupting the company with complaining”).) Further, the

alleged complaint and alleged termination occurred sufficiently close in time to raise an inference

of causation.

                       b.      Adverse Action

       Southwest contends that it did not take any adverse action against Plaintiff because Plaintiff

voluntarily resigned. Southwest argues that (1) Plaintiff voluntarily resigned when he spoke to

Erven; and (2) at a minimum, Plaintiff led Copple to believe that he had resigned by failing to

respond when Copple indicated that Plaintiff had given his two weeks’ notice.

       Questions of fact preclude summary judgment on the issue of whether Plaintiff resigned or

was terminated. Plaintiff denies that he gave his two weeks’ notice to Erven and contends that he

merely mentioned that he was considering giving his notice. Plaintiff states that on the Friday after

his conversation with Erven, he was called into Copple’s office around 10:00 a.m. (King Dep.



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         Southwest did not cite any cases as to what types of comments are sufficient to constitute
protected opposition to discrimination, and the Court does not reach that question.

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79:23-80-25.) According to Plaintiff, Copple “said that [. . .] I was disrupting the company with

complaining.” (Id.) Plaintiff testified that Copple did not inquire as to whether Plaintiff had given

his two weeks’ notice; rather, Copple “stated that I had turned in a two-week notice to Erven and

that I needed to leave immediately.” (Id.; King Aff. ¶ 6.) Although Plaintiff admits he did not try

to correct Copple’s statement, this was because Copple “made it very clear that he wanted me gone

right then.” (King Dep. 81 (stating that in the meeting with Copple, “[i]t was obvious to me that I

was getting fired”).) Plaintiff also testified that after the meeting with Copple, Plaintiff told Guzman

that he wanted his paycheck “since you fired me,” and Guzman did not correct him. (King Dep. 84-

85.) A reasonable jury could credit Plaintiff’s testimony that he did not resign, that Copple failed

to give him an opportunity to indicate he did not wish to resign, and that Copple terminated him

involuntarily.

                 2.     Legitimate, Non-Discriminatory Reason/Pretext

        Southwest denies that it terminated Plaintiff. Southwest argues that, if it terminated Plaintiff,

it did so based on a reasonable belief that he had resigned. Southwest further contends that Plaintiff

was escorted off the premises due to its safety policy described above.

        For reasons explained above, Plaintiff’s evidence creates a question of fact as to whether he

resigned or was terminated. In this case, because Southwest’s “reason” for termination was that

Plaintiff voluntarily resigned, this same evidence tends to demonstrate pretext. Further, Plaintiff

contends that, during his meeting with Copple, Copple refused to listen to him, made clear that

Copple “had it in his mind he was getting rid of me,” and stated Plaintiff was causing trouble with

his complaints. (King Dep. 80:19-81:17; King Aff. ¶ 6.) These disputes create a reasonable

inference that, if Plaintiff was terminated, Southwest’s proffered reasons for termination were a


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pretext for retaliation. With respect to the safety policy, Plaintiff testified that he continued to work

on airplanes between the time of his conversation with Erven and his meeting with Copple, raising

an inference that this reason for escorting Plaintiff from the premises could also be a pretext for a

retaliatory motive.

V.      Conclusion

        Southwest’s Motion for Summary Judgment (Doc. 21) is DENIED. Plaintiff’s objection to

Exhibit 2 (Doc. 26-2), Exhibit 4 (Doc. 26-4), and Exhibit 5 (Doc. 26-5) to Southwest’s reply to the

motion for summary judgment is OVERRULED.

        The parties are ORDERED to submit a revised Pretrial Order setting forth revised issues of

law in conformance with this Order, no later than two weeks from the date of this Order.



        Dated this 5th day of May, 2017.




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